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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT
_____________________________________
JONATHAN MICHEL,                      :                    CASE NO.: 3:20-cv-01080-JCH
                                      :
                                      :
            Plaintiff,                :
                                      :
v.                                    :                    SEPTEMBER 25, 2020
                                      :
YALE UNIVERSITY,                      :
                                      :
            Defendant.                :
_____________________________________:


          DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       For the reasons set forth in the accompanying memorandum of law, Defendant Yale

University respectfully moves the Court to dismiss Plaintiff’s Complaint pursuant to Federal

Rule of Civil Procedure 12(b)(6).


                                                        Respectfully submitted,

                                                        /s/ Jonathan M. Freiman
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